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 5 Attorney for:
   JOVANNY ARELLANES
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 13-0227 GEB
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 11/18/16 AT 9:00 A.M.
     JOVANNY ARELLANES, Defendants
13
                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, AUSA Todd Pickles,
15
     and Defendant Jovanny Arellanes, represented by Attorney Dina Santos, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on October 28, 2016.
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            2.      By this stipulation, defendant now moves to continue the status conference until
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     November 18, 2016, for change of plea and to exclude time between October 28, 2016, and November
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     18, 2016, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time finalize a plea agreement, continue
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            to conduct investigation, and to otherwise prepare for trial. It is anticipated that Mr. Arellanes
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            will be prepared to enter a change of plea on November 18, 2016.
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                    b)       Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny them the reasonable time necessary for effective preparation, taking into
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            account the exercise of due diligence.
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                    c)       The government does not object to the continuance.
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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                Case 2:13-cr-00227-DAD Document 180 Filed 10/27/16 Page 2 of 3


 1                    d)       Based on the above-stated findings, the ends of justice served by continuing the

 2            case as requested outweigh the interest of the public and the defendant in a trial within the

 3            original date prescribed by the Speedy Trial Act.

 4                    e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5            et seq., within which trial must commence, the time period of October 28, 2016, to November

 6            18, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

 7            Code T4] because it results from a continuance granted by the Court at defendant’s request on

 8            the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

 9            best interest of the public and the defendant in a speedy trial.

10            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

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14            IT IS SO STIPULATED.

15 Dated: October 27, 2016                                       PHILLIP TALBERT
                                                                 United States Attorney
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17                                                               /s/ Todd Pickles
                                                                 TODD PICKLES
18                                                               Assistant United States Attorney

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20 Dated: October 27, 2016                                       /s/ Dina L. Santos
                                                                 DINA SANTOS, ESQ.
21                                                               Attorney for Jovanny Arellanes

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        Stip. & [Proposed] Order Continuing Status Conf. &   2
        Excluding Time Periods Under Speedy Trial Act
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               Case 2:13-cr-00227-DAD Document 180 Filed 10/27/16 Page 3 of 3


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 2                                                          ORDER

 3           IT IS SO FOUND AND ORDERED.

 4           Dated: October 27, 2016

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       Stip. & [Proposed] Order Continuing Status Conf. &     3
       Excluding Time Periods Under Speedy Trial Act
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